                  EXHIBIT E




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                                                               John A. Lee
                                                               Banie & Ishimoto LLP
                                                               3705 Haven Ave. #137
                                                               Menlo Park, CA 94025
                                                               Phone: 650-241-2774
                                                               Email: j lee@banishlaw.com



     VIA U.S. MAIL

     August 2, 2019

     Mr. William Powell, Jr.
     Salem Tools, Inc.
     1602 Midland Rd.
     Salem, VA 24153

             Re:    Infringement of Landmark Technology A, LLC's Patent Rights

     Dear Mr. Powell, Jr.:

            We are intellectual property counsel for Landmark Technology A, LLC
     ("Landmark"). Landmark has exclusive rights to patents covering certain special-
     purpose computer, communication and network technologies relating to Internet
     searching, e-commerce, electronic bill pay, business-to-business transactions,
     multimedia data processing networks and mobile technologies. Landmark's widely
     regarded patented technology covers, among other things, special-purpose
     hardware and software systems supporting key transaction processes and features
     used in many electronic commerce systems, including structures which exchange
     business data amongst trading partners.

              Landmark has licensed its patents to over 200 companies across various
      industries. Landmark's patents rank extremely high in patent citing activity and
      have been cited nearly 200 times by the USPTO whereas the avc:rage patent has only
      five citations during its lifetime. Highly cited patents are generally known to be of
      greater technical importance, and even fewer rise to the level of "pioneer patents"
      achieved by the Landmark patents.

             Landmark believes that Salem Tools, Inc. ("ST Solutions") automated
      multimedia data processing network systems, particularly https://www.stsolutions
      online.com/ and https://www.stsolutionsonline.com/defaultaspx?Page=Logon
      through practices U.S. Patent No. 7,010,508 Cl ("'508 Patent"). You will find that the
      '508 Patent teaches and claims automated multimedia data processing network for
      processing business and financial transactions between entities from remote sites.
      This includes data processing systems wherein a computerized installation acts on
      inquiries and orders from stations [as do ST Solutions' servers], communicates with
      stations which use program instructions and act as the user interface [as do those

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       devices interfaced to ST Solutions' web servers in communication with ST Solutions'
       servers], sequences are retrieved in a forwardly/backwardly chained response (as
       defined by the inventor) to data entered into a text input field [as seen in devices
       interfaced to ST Solutions' web servers], and data is updated in a computerized
       installation storage [as per the functionality of ST Solutions' web servers]. For
       example, the specific functionalities implemented by ST Solutions using their
       servers and devices interfaced to ST Solutions' web servers constitutes use of the
       technology taught within the meaning of Claim 1 of the '508 patent.

              Landmark is currently offering ST Solutions a non-exclusive license to its
       '508 patent, for $65,000. This offer represents a substantial discount to the
       historic licensing price of Landmark's portfolio, and will not be available in the
       event of litigation.

              We appreciate your attention to this matter and request a response within
       15 days of this letter. Please contact me at the phone or email above, or contact my
       colleague, Jennifer Ishimoto, at ishimoto@banishlaw.com or (650) 241-2773.



                                                       Very truly yours,




                                                       John A. Lee
                                                       Partner
                                                       BAN IE & ISHIM OTO LLP




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                                                                  3 Pageid#:
                                                                 John A. Lee
                                                                 Banie & Ishimoto LLP
                                                                 3705 Haven Ave. #137
                                                                 Menlo Park, CA 94025

Banish Law                                                       Phone: 650-241-2774
                                                                 Email: jlee@banishlaw.com


        VIA U.S. MAIL


        September 20, 2019

        Mr. William Powell, Jr.
        Salem Tools, Inc.
        1602 Midland Rd.
        Salem, VA 24153

               Re:      Infringement of Landmark Technology A, LLC's Patent Rights

        Dear Mr. Powell:

        In August, Landmark offered a non-exclusive license to its '508 patent for $65,000.
        A month has elapsed and ST Solutions has not responded to Landmark.

        The current amount for a non-exclusive license to Landmark's '508 patent expires
        November 1, 2019. Please contact me as soon as possible.



                                                        Very truly yours,




                                                        John A. Lee
                                                        Partner
                                                        BANIE & ISHIMOTO LLP




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